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                                                    UNITED STATES DISTRICT COURT
                                                FOR THE WESTERN DISTRICT OF MICHIGAN

                            ELEANOR CANTER,
                                 Plaintiff,                                         Case No.: 20-cv-672
                                                                                  Hon. _________________
                                   v.
                                                                                        COMPLAINT
                                                                                     AND JURY DEMAND
                            DISABILITY NETWORK WEST MICHIGAN;
                            THE CITY OF MUSKEGON; FRANKLIN
                            PETERSON; KIRK BRIGGS; GARY POST;
                            BRAD HASTINGS; and DIANE FLESER,
                                 Defendants
                                                                             /
OUTSIDE LEGAL COUNSEL PLC




                            OUTSIDE LEGAL COUNSEL PLC
                            PHILIP L. ELLISON (P74117)
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                            Attorney for Plaintiff
                            PO Box 107
                            Hemlock, MI 48626
                            (989) 642-0055
                            pellison@olcplc.com


                                                                   COMPLAINT

                                   NOW COMES Plaintiff ELEANOR CANTER, by counsel, and complains unto the

                            Court as follows.

                                                                 INTRODUCTION

                                          All citizens, including Plaintiff ELEANOR CANTER, are entitled to petition

                            the government and criticize discriminatory practices without fear of retribution, especially

                            when those criticism point out violations of federal disability laws. This lawsuit seeks to

                            vindicate Plaintiff CANTER’s constitutional rights and end the past and ongoing joint

                            campaign of retaliation, including by conspiracy among various actors and by the

                            improper use of the Michigan state court judiciary.



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                                                            JURISDICTION & VENUE

                                          This Court has jurisdiction over the subject matter of this action pursuant to

                            28 U.S.C. § 1331 and 1334 because the controversy centers on federal questions under

                            the First Amendment to the United States Constitution, the Americans with Disabilities

                            Act (“ADA”), the Rehabilitation Act of 1973 (“Rehabilitation Act”), as amended, 29 U.S.C.

                            § 701 et. seq.

                                          This Court has jurisdiction over state-law claims arising from the same

                            transactions and events pursuant to 28 U.S.C. § 1367.

                                          Declaratory relief is requested under 28 U.S.C. §§ 2201, 2202.
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                                          Damages, fees, and costs of the action are requested under 42 U.S.C. §§
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                            1983 and 1988, and the corresponding provisions of Michigan law.

                                          Venue is proper in this district pursuant to 28 U.S.C. § 1391 as all

                            Defendants either reside or conduct business within the boundaries of the Western

                            District of Michigan, which is also where most of the wrongful acts occurred.

                                                        PLAINTIFF ELEANOR CANTER

                                          Plaintiff ELEANOR CANTER resides in the City and County of Muskegon,

                            Michigan where she advocates and has advocated on behalf of disabled individuals for

                            most of her life.

                                          Due to a progressive neurological condition which requires the use of a

                            mobility device, Plaintiff ELEANOR CANTER qualifies for protections and/or

                            accommodations under the Americans with Disabilities Act (“ADA”), the Rehabilitation

                            Act, and Michigan’s Persons With Disabilities Civil Rights Act (“PWDCRA”).




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                                                      CITY OF MUSKEGON DEFENDANTS

                                          Defendant CITY OF MUSKEGON (“CITY”) is a municipal corporation

                            formed under the laws of the State of Michigan. The CITY operates under a “Council-

                            Manager” form of government with a seven-member city commission (including the

                            mayor). By way of a 2010 settlement agreement with United States Department of

                            Justice, the CITY was required to develop and implement policies and training programs

                            to ensure accessibility and compliance with the ADA. (DJ-2014-38-109)

                                          Defendant    FRANKLIN       PETERSON        (“FRANK      PETERSON”       or

                            ”PETERSON”) resides and works in the City of Muskegon, Michigan and is the City
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                            Manager of the CITY. As city manager (a position appointed by the CITY commission),
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                            PETERSON functions as the CITY’s Chief Executive Officer. Peterson is sued in his

                            individual capacity.

                                          Defendant KIRK BRIGGS (“BRIGGS”) conducts business throughout

                            Muskegon County and the Western District of Michigan. For the CITY OF MUSKEGON,

                            BRIGGS identifies himself as: Building Official/Inspector; Plan reviewer; Rental and Code

                            Enforcement Supervisor; Dangerous Building Inspector; and Fire Inspector Supervisor for

                            the City of Muskegon. KIRK BRIGGS is being sued in his individual capacity.

                                          Defendant GARY POST resides and does business within the Western

                            District of Michigan. At all times relevant to this lawsuit, GARY POST was enmeshed

                            with CITY officials in efforts to avoid his obligations to ensure that the Heritage Square

                            Commons and its tenancies (including Drip Drop Drink coffee shop) were designed and

                            constructed in compliance with the law. GARY POST is sued in his individual capacity.




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                                            DISABILITY NETWORK WEST MICHIGAN DEFENDANTS

                                           Defendant DISABILITY NETWORK WEST MICHIGAN (“DNWM”) is a

                            Michigan Non-Profit Corporation registered at 27 E. Clay Avenue, Muskegon, Michigan

                            49442. DMWM does business and raises funds throughout the Western District of

                            Michigan. DNWM is one of Michigan’s fifteen Centers for Independent Living.

                                           Defendant BRAD HASTINGS (“HASTINGS”) is employed as the Advocacy

                            and ADA Coordinator for DNWM where he performs quasi-governmental functions under

                            state and federal law. HASTINGS also holds a contractual position with and performs
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                            governmental functions for the CITY OF MUSKEGON.                  HASTINGS is sued in his

                            personal capacity.
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                                           Defendant DIANE FLESER (“FLESER”) lives and regularly conducts

                            business within the Western District of Michigan. FLESER is the Executive Director of

                            DNWM who performs quasi-governmental functions for the State of Michigan and the City

                            of Muskegon, and is sued in her individual capacity.

                                 BACKGROUND FACTS: MUSKEGON’S DOWNTOWN REDEVELOPMENT

                                           After many years of post-industrial decline, efforts to revitalize the CITY’s

                            downtown district took shape at the turn of the century. The CITY’s unique geographic

                            features and an abundance of financial incentives presented a wide range of opportunities

                            for developers. Nonetheless, a substantial number of projects were abandoned or stalled

                            due to various challenges and setbacks.1

                                           “Heritage Square Townhomes” was one of the first housing projects to go

                            forward when the 2003 demolition of the defunct Muskegon Mall left 23 acres of sand and



                                  1   https://www.mlive.com/news/muskegon/2014/09/not_your_parents_downtown_time.html


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                            rubble. Local developer GARY POST broke ground on the high-end townhomes in 2008,

                            long before most investors were prepared to bet on the city’s successful comeback. It

                            would be more than a decade before the first phase of this project reached completion. 2

                                          In 2012, CITY leaders disbanded its in-house building inspection

                            department and privatized all inspection and permit related services. Per the CITY’s

                            contract with “Safe Built Inc. of Michigan,” Defendant KIRK BRIGGS became the CITY’s

                            Chief Building Official. Together with the newly hired city manager FRANK PETERSON,

                            KIRK BRIGGS and his employees pursued aggressive blight enforcement policies in

                            residential areas.3
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                                          However, PETERSON and BRIGGS adopted a more “flexible” posture
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                            when it came to code enforcement and inspections for downtown developers (such as

                            GARY POST). As described in a January 30, 2014 newspaper article:4

                                          The Safe Built attitude toward customer service seems to be working,
                                          according to officials at the Muskegon Lakeshore Chamber of
                                          Commerce who for years have fielded complaints about area
                                          inspection departments. Downtown developer Gary Post has been a
                                          critic of city inspection practices over the years.

                                          “This is a big improvement over what we experienced before,” said
                                          Post, who admits through his 40 years in the construction industry he
                                          has thought local government has gone too far in regulating
                                          construction practices.

                                          “Safe Built is working hard to change the image of city inspections.
                                          They are making a serious effort to work with the contractors. There
                                          are good positive steps to work with the people.”

                                          Peterson said as city manager he appreciates the way Safe Built has
                                          handled those needing building inspections. “The code is open to



                                   2          https://www.mlive.com/news/muskegon/2019/04/downtown-muskegon-townhomes-near-
                            completion-after-11-years.html
                                   3 https://www.mlive.com/news/muskegon/2012/09/city_of_muskegon_moves_to_priv.html
                                   4 https://www.mlive.com/news/muskegon/2014/01/city_of_muskegon_to_use_safebu.html




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                                             interpretations so a lot of it is about the delivery,” Peterson said. “For
                                             many it is my way or the highway but not with Safe Built.”

                                             Developer GARY POST would continue to benefit from the CITY’s support

                            for downtown developers in his efforts to complete the Heritage Square Townhomes and

                            Heritage Square Commons projects. The CITY contributed a $500,000 interest free loan

                            in 2014 to assist in a timelier completion of the Heritage Square Townhomes project.5

                                             In 2018, FRANK PETERSON urged the CITY Commission to extend

                            another interest free loan of $300,000 so that the next phase the project, Heritage

                            Square Commons, could be completed in time for GARY POST to collect approximately
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                            $180,000 in state tax credits. The CITY sweetened the deal by crediting back $5,000 of
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                            POST’s payments for inspection services.6

                                             The CITY was simultaneously partnering with GARY POST on efforts to

                            move the $6.85 million-dollar Ameribank development project forward, fronting $350,000

                            in CITY funds for selective demolition work while POST held an option to purchase on

                            the property.7

                                        BACKGROUND FACTS: Heritage Square Commons Building
                                       Completed Without Minimum Number of Accessible Entrances

                                             The Americans with Disabilities Act (“ADA”) requires every place of public

                            accommodation to be constructed with at least 60% of public entrances accessible for

                            those with mobility devices. See 2010 ADA Standards, §206.4. When a place of public




                                     5    https://www.mlive.com/news/muskegon/2014/06/two_new_downtown_muskegon_town.html
                            Two new downtown Muskegon townhouses to be built with city loan (6/25/14, Lynn Moore)
                                     6          https://www.mlive.com/news/muskegon/2018/04/city_gives_developer_300k_loan.html
                            City gives developer $300K loan to complete downtown project (4/12/18, Ben Solis)
                                     7         https://www.mlive.com/news/muskegon/2018/03/old_ameribank_building_being_d.html
                            Ameribank building being 'deconstructed' ahead of redevelopment (3/27/18, Ben Solis)


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                            accommodation (such as the retail units within Heritage Square Commons) has only two

                            public entrances, both must be accessible.

                                          Renderings published by the Muskegon Chronicle in 2014 show that

                            Heritage Square Commons was originally designed with proper accessible main

                            entrances for each of the four retail units.
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                                          However, at some point in the final stages of the project, two of the four

                            accessible entrances were eliminated as a deviation from the original plan. After Heritage

                            Square Commons later “passed” inspection, the Drip Drop Drink coffee shop and The

                            Crue Barber Shop opened for business in the two retail units; neither had or have today

                            an ADA compliant accessible main entrance .




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                             (Note the blocking gate across
                             the sidewalk ramp)

                                          The stepped main entrances for these two rental units (Drip Drop Drink and
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                            the Crue Barber Shop) made compliance with the 2010 ADA Standards impossible for
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                            any business which functioned as a place of public accommodation.

                                          Since at least 2012, the ADA has required that 60% of public entrances

                            must be ADA accessible for each place of public accommodation.

                                          Although local municipalities are not responsible for enforcement of the

                            ADA, KIRK BRIGGS had a legal obligation to ensure that these same requirements were

                            met at various stages of the permitting and inspection process. This is especially true on

                            a project which partially funded by the loans from the CITY and designed as a public

                            gathering place.


                                                PLAINTIFF ELEANOR CANTER PETITIONS
                                        PUBLIC OFFICIALS REGARDING ACCESSIBILITY CONCERNS

                                          Shortly after Drip Drop Drink opened for business, Plaintiff ELEANOR

                            CANTER, a life-long advocate for disability rights, was contacted by a member of the

                            community who had been unable to enter the coffee shop for lack of an accessible

                            entrance.


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                                          Plaintiff ELEANOR CANTER contacted CITY officials and expressed

                            concern that two retail units in Heritage Square Commons, a city-funded project, had

                            been constructed, inspected, approved, and then opened for business without meeting

                            ADA requirements for accessible entrances.

                                          FRANK PETERSON, KIRK BRIGGS, and GARY POST attempted to deflect

                            Plaintiff CANTER’s concerns by explaining that disabled individuals could enter through

                            a storage corridor in the back corner of the coffee shop.

                                          However, to reach the rear entrance, a mobility device would have to
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                            navigate a series of back hallways which are cluttered with stored objects. Further, these

                            hallways could only be accessed through another unmarked entryway in the front of the
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                            building.   Passage into the hallway was through a secondary unmarked door—and

                            predicated on an outer entryway that was frequently locked.

                                          Plaintiff ELEANOR CANTER appropriately expressed concern that CITY

                            officials had allowed a prominent, city-funded project to be constructed in this improper

                            manner and that CITY officials wrongfully concluded that Drip Drop Drink complied with

                            ADA requirements for a place of public accommodation.

                                          PETERSON and BRIGGS took offense at CANTER’s insistence on strict

                            compliance and what they perceived as an “adversarial” posture.

                                          FRANK PETERSON and KIRK BRIGGS wanted to work with someone who

                            could help them portray an image of concern for disabled citizens, while still having the

                            option to occasionally cut a few corners on ADA compliance. They wanted a “partner”

                            and not an “adversary.”

                                        THE CITY PARTNERS WITH BRAD HASTINGS & DIANE FLESER
                                                OF DISABILITY NETWORK WEST MICHIGAN)


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                                            Defendant FRANK PETERSON was already on a first-name basis with

                            Defendant BRAD HASTINGS.                 HASTINGS had proven himself an ally in efforts to

                            expedite progress in redevelopment of the CITY’s downtown area.

                                             BRAD HASTINGS had recently been hired as the Advocacy and ADA

                            Coordinator for DISABILITY NETWORK WEST MICHIGAN (“DNWM”).8

                                            A few days after Plaintiff ELEANOR CANTER submitted her concerns

                            regarding Drip Drop Drink, Defendant BRAD HASTINGS sent correspondence to city

                            manager FRANK PETERSON, Ken Johnson (City Commissioner), Joe Doyle (City
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                            Planning Commission and also DNWM board of directors) also noting that Drip Drop Drink
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                            was in violation of the ADA.

                                            Good Morning Frank, Joe, and Ken,

                                            I am emailing to present an issue of accessibility that was brought to
                                            our attention recently.

                                            The new Drip Drop Drink, located at 926 Second Street, lacks an
                                            accessible entrance. (See Photo Below) As this is new construction
                                            and is a place of public accommodation, it is required to be
                                            accessible and to meet the 2010 Standards of Accessibility.

                                            I am curious how something like this was not caught in the design or
                                            building inspection phase? I would like to know how we can be a part
                                            of the planning process to prevent this from happening in the future?
                                            Any guidance would be greatly appreciated.

                                            Thank you for your time,
                                            Brad Hastings
                                            Advocacy and ADA Coordinator
                                            Disability Network West Michigan



                                   8 Per their mission statement, DNWM, a federally funded non-profit exists to advocate and empower

                            “persons with disabilities … ensuring that accessibility is an accepted civil right.” Under “How We Advocate”
                            the DNWM website specially identifies a focus on accessible buildings, and “ADA Compliance: Facility
                            accessibility and fair treatment.” https://disabilitynetworkwm.org/how-we-advocate/


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                                           Although Defendant BRAD HASTINGS was identifying the exact same

                            concern which Plaintiff CANTER had presented, FRANK PETERSON and KIRK BRIGGS

                            believed that BRAD HASTINGS would be willing to partner with the CITY in applying a

                            “more flexible” reinterpretation of accessibility standards under circumstances where

                            favored downtown developers needed to “get things done.”

                                           Defendant PETERSON knew that Defendants HASTINGS and FLESER

                            had been working to garner media exposure for DNWM and establish BRAD HASTINGS

                            as an authority on accessibility and ADA issues.9

                                           The CITY Defendants were also aware that DNWM took a very flexible and
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                            business friendly approach in advocating for ADA compliance. For example, DNWM
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                            advertises paid consultation services for local businesses, risk free ADA evaluations, and

                            a no-hassle pathway to favorable publicity.10

                                           In describing their “Seal of Approval” services (Fn.10), there is no indication

                            that a business must meet any particular standard or address any issues before receiving

                            DISABILITY NETWORK’s endorsement:

                                           We are committed to partnering with your business to provide the most
                                           affordable, accessible, environment possible.

                                           …We also offer the Disability Network Access for All Seal of
                                           Approval for your business. The Access for All seal of approval
                                           demonstrates to the disability community that your business has
                                           considered the needs of individuals with disabilities are a priority.

                                           Once your business has been evaluated you will be given the seal to
                                           proudly display both at your business and your website.


                                    9 HASTINGS and FLESER circulated press releases and pursued opportunities to make

                            appearances on local radio shows and news outlets. For a recent example see WOOD TV 8:
                                    https://www.woodtv.com/health/coronavirus/michigan-mask-mandate-disability-network-explains-
                            impact/
                                    10 See “for businesses” section at https://disabilitynetworkwm.org/info/




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                                          DNWM’s advertisements specifically assure business that DNWM will not

                            report ADA violations.

                                          Other Centers for Independent Living regularly facilitate reports of ADA

                            violations and/or initiate litigation to remedy discriminatory practices by local businesses.

                                          FRANK PETERSON, KIRK BRIGGS, and/or GARY POST seized this

                            opportunity to “team up” with BRAD HASTINGS in a symbiotic partnership with DNWM

                            (the “CITY/DNWM Partnership”).

                                          As a purported expert in the field, BRAD HASTINGS was in a position to

                            provide a very “friendly” ADA evaluation of Heritage Square Commons so that Plaintiff
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                            ELEANOR CANTER could be persuaded to drop her complaints.
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                                          PETERSON, BRIGGS and POST knew that DNWM’s “Access For All Seal

                            of Approval” would also be useful in discrediting CANTER’s advocacy if she continued to

                            oppose the ADA violations at Drip Drop Drink Coffee. This would be a critical step in

                            preventing other government agencies from investigating               or scrutinizing the

                            discriminatory acts and practices tolerated by the CITY.

                                          Because BRAD HASTINGS had only recently received ADA training and

                            had not personally experienced the challenges having a qualified disability, a partnership

                            opportunity with the CITY offered an opportunity to gain instant creditability in the

                            community.

                                          Similarly, POST, BRIGGS and PETERSON knew that future circumstances

                            may also require a more flexible application of accessibility standards, so that downtown

                            developers could continue, again, to “get things done.”




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                                         PETERSON and BRIGGS also desired to avoid direct engagement with

                            complainants who presented accessibility concerns. The CITY/DNWM Partnership was

                            intended to serve as a buffer from disfavored citizen complaints—while simultaneously

                            portraying PETERSON and BRIGGS as public officials who took ADA concerns very

                            seriously.

                                         In his new role as the CITY’s agent, BRAD HASTINGS quickly abandoned

                            the concerns he had described regarding Drip Drop Drink’s obvious non-compliance with

                            the ADA.

                                         Although not a government official himself, GARY POST had been working
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                            closely with FRANK PETERSON and KIRK BRIGGS to skirt ADA requirements and
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                            scuttle Plaintiff CANTER’s complaints. In a 3/4/19 message (copied to KIRK BRIGGS &

                            BRAD HASTINGS) Developer GARY POST gleefully put the CITY/DNWM Partnership to

                            good use:

                                         Good Morning, Ms. Canter!

                                         We met a few weeks ago with Brad Hastings from the Disability
                                         Network and Kirk Briggs from Safe Built, the City of Muskegon’s
                                         inspection department. It was a very good meeting and we all agree
                                         that we are in compliance with ADA. We did agree to add some
                                         signage to the building and still need to do that.
                                         Thanks for your concern! Gary

                                         A few hours later, CITY Building Official KIRK BRIGGS echoed this

                            sentiment with a more detailed explanation of the position which had been collaboratively

                            developed by the CITY/DNWM Partnership.

                                         Thank you for your concern and input on this matter, please
                                         understand that the Muskegon Building Department is very driven to




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                                           ensure code compliance including Chapter 11 of the Michigan Building
                                           Code regarding accessibility and the ADA codes.11

                                           Please be aware that Heritage Square Commons on 2nd street is one
                                           building and it has 5 entrances and 3 of those entrances are ADA
                                           compliant. This complies with the 60% as required in code section
                                           1108.1

                                           Please understand that we have also met with Brad Hastings Advocacy
                                           and ADA Coordinator Disability Network West Michigan. We have
                                           teamed with them and Brad has helped us understand a lot more of
                                           the ADA intent.

                                           With his input we now know how to make future building even less
                                           incumbent in the future.

                                           Once again thanks for your input.
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                                           Sincerely, Kirk Briggs
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                                           The March 4, 2019 message (above) was also copied to FRANK

                            PETERSON, GARY POST, BRAD HASTINGS, and the CITY’s police chief, Jeffrey Lewis.

                            In subsequent messages, PETERSON also conveyed his approval of the CITY’s reliance

                            on the analysis provided by the CITY’s new “accessibility partner.”

                                           The contrast between BRAD HASTING’s interpretation of ADA compliance

                            before and after the CITY/DNWM Partnership is jarring. HASTING’s original

                            correspondence to the CITY (on November 30, 2018) acknowledged the larger building

                            structure, but specifically (and correctly) stated that ADA requirements applied to each

                            place of public accommodation.

                                           The new Drip Drop Drink … is a place of public accommodation, it is
                                           required to be accessible and meet the 2010 Standards…




                                   11    This unorthodox conflation of Michigan’s Building Code and the ADA requirements relies on
                            acceptance of the premise that a locked door remains “accessible” to the public (under the ADA). POST
                            also fails to apply the ADA’s 60% rule to each place of public accommodation.


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                                            Hastings original position also specified that the “2010 Standards of

                            Accessibility” applied to Drip Drop Drink.

                                            However, after HASTINGS began working for the CITY, he inexplicably

                            began quoting from the antiquated 1999 “ADA Guide for Small Businesses”—a document

                            which had been out of date since 2010.

                                            Good Afternoon Eleanor, You may know that there is a ADA Guide for
                                            Small Businesses. Here is an excerpt from that guide: “When a
                                            business has two public entrances, in most cases, only one must be
                                            accessible.” (excerpt from HASTINGS 3/5/19 email)
                                            In the same message, Hastings explained that Drip Drop Drink’s

                            compliance with the ADA had been confirmed via guidance and conclusions tendered by
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                            the Department of Justice and the U.S. Access Board.12
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                                            This is not the outcome we hoped for, but unfortunately, Port City CDS
                                            has decided to meet minimum requirements in this case, at this time.
                                            The bare minimum is not our goal, but it is the standard they can legally
                                            be held to. There are also complications where the private property
                                            meets the public, city sidewalk that complicate the issue of just adding
                                            a ramp.

                                            You should know that in assessing this situation, I did not only rely on
                                            my own training and technical education of the ADA. I reached out to
                                            other Certiﬁed ADA Coordinators, as well as the US Access Board and
                                            the Department of Justice. It was concluded that while the intent of the
                                            standards is to make the main entrances accessible, Port City would
                                            meet the bare minimum requirements if the door remained unlocked
                                            during business hours and signage was provided to indicate an
                                            accessible route.

                                            Almost immediately after bestowing the seal of approval on Heritage Square

                            Commons, HASTINGS was appointed to the Downtown Development Authority.




                                    12At the time of filing this lawsuit, no such “guidance” or “conclusions” from these federal agencies
                            can be verified among the voluminous correspondence HASTINGS has produced in state court litigation.


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                                         DNWM received the prestige of working with the CITY, a contract for

                            additional public funding, and the CITY’s promise of ongoing assistance in suppressing

                            CANTER’s complaints about the CITY/DNWM Partnership.

                                         PETERSON and other CITY officials also used their connections and

                            influence to arrange a Muskegon Community Foundation grant which would fund a

                            community-wide promotion of DNWM’s consulting services for local businesses.
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                                                  COLLABORATIVE EFFORTS TO PROTECT
                                                     THE CITY/DNWM PARTNERSHIP

                                          As it became clear that the CITY/DNWM Partnership was using the DNWM

                            “Access for All Seal of Approval” as cover for discriminatory practices, Plaintiff ELEANOR

                            CANTER began petitioning CITY officials in opposition to the CITY/DNWM Partnership.

                                          Plaintiff CANTER also criticized CITY/DNWM Partnership in public forums

                            and requested that other state and federal agencies investigate.

                                          Based on their shared interest in protecting the CITY/DNWM Partnership,

                            FRANK PETERSON, KIRK BRIGGS, BRAD HASTINGS, DIANE FLESER and GARY
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                            POST agreed on a collaborative plan to discredit, discourage, suppress, and punish
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                            Plaintiff ELEANOR CANTER’s complaints and criticism. Defendants agreed to use their

                            collective influence to portray CANTER as vindictive, dishonest, threatening, and/or

                            abusive—eliminating her ability to effectively advocate on issues related to accessibility

                            and independent living.

                                          DIANE FLESER and BRAD HASTINGS relied on strategies which had been

                            developed by DNWM’s public relations firm and circulated variations of their disparaging

                            narrative to a carefully curated list of influential “allies.”   DIANE FLESER used her

                            connections and influence to exclude CANTER from participating in Statewide

                            Independent Living Council business, and to undermine CANTER’s credibility with federal

                            agencies.

                                          Per the CITY/DNWM Partnership agreements, FRANK PETERSON and

                            KIRK BRIGGS also took action to exclude Plaintiff ELEANOR CANTER from local civic

                            engagement.




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                                         In the course of these actions, each of the Defendants took deliberate steps

                            to convey that the adverse actions against Plaintiff CANTER would continue as long as

                            Plaintiff CANTER remained critical of the CITY/DNWM Partnership:

                                         E.g. BRAD HASTINGS’ 3/5/19 message to Plaintiff CANTER:
                                               It has been my observation that your approach pushes people
                                               away from the table, just as you have pushed us away.

                                         E.g. DIANE FLESER’s 3/5/19 message to Plaintiff CANTER:
                                                Your tactics to belittle and bully, are not conducive to advancing
                                                our mission and frankly do not warrant a response, speaking of
                                                “new lows”. [sic] Your attempts to communicate often result in
                                                failed exchanges because of the hostile platform you pursue.

                                         In written correspondence and a subsequent meeting, PETERSON and
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                            BRIGGS repeatedly expressed their disdain for Plaintiff CANTER’s allegations of
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                            impropriety regarding the CITY/DNWM Partnership.

                                         In April of 2019, PETERSON chastised and admonished Plaintiff CANTER

                            for criticizing the seal of approval which HASTINGS had bestowed on Drip Drop Drink.

                            PETERSON repeatedly identified specific criticism of HASTINGS in his governmental role

                            and identified these statements as the reason why Plaintiff CANTER would have limited

                            opportunity to engage the CITY on accessibility issues.

                                         These actions and statements were all carefully coordinated. BRIGGS,

                            PETERSON, FLESER and HASTIGNS worked from the same script in their efforts to

                            protect the CITY/DNWM Partnership from criticism and scrutiny.

                                         The underlying purpose of the partnership, and the shared objectives in

                            silencing CANTER are succinctly reflected in the 3/11/19 email sent from KIRK BRIGGS

                            to BRAD HASTINGS (emphasis added).




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                                          Brad,

                                          It has been a pleasure working with you on this Access issue, you
                                          have been a great help. The Building department takes ADA access
                                          seriously and works hard to enforce code compliance, your input and
                                          team work has been very valuable on this project and others.

                                          It is unfortunate that the city and yourself [DNWM] has been the
                                          target of the Accessibility Justice League [i.e. ELEANOR CANTER].
                                          Their approach to the issue and code interpretation have been very
                                          irregular, even bordering on harassment.

                                          The atmosphere of team work that we have with you and the
                                          Disability Network West Michigan is where people can best get things
                                          done.

                                          You have our support.
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                                          Sincerely,
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                                          Kirk Briggs
                                          Building Ofﬁcial/Building Inspector Plan Reviewer

                                          The message cited above was copied to POST, FLESER and several other

                            high-ranking CITY officials. All the Defendants understood the CITY must fully “support”

                            the CITY/DNWM Partnership in order to preserve the atmosphere where developers

                            could “best get things done” even if in contradiction to federal laws.


                                                        PLAINTIFF CANTER’S INJURIES

                                          As a result of the conduct described above, Plaintiff CANTER was directly

                            and substantially injured in her ability to advocate for an accessible and inclusive city.

                                          Plaintiff CANTER has invested considerable time and effort to educate

                            herself and inform others regarding their rights and obligations under the ADA. The

                            deliberate and sustained conduct of the Defendants frustrated and interfered with Plaintiff




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                            CANTOR’s efforts to make her community more welcoming for individuals with

                            disabilities.

                                            Plaintiff CANTER suffered irreparable harm in that her efforts to participate

                            in government affairs and hold public officials were hindered and chilled by the

                            Defendant’s campaign of retaliation.

                                            Plaintiff CANTER was required to spend thousands of dollars in response

                            to sham litigation, legal threats, and the multifaceted effort to silence and suppress

                            Plaintiff CANTER’s protected conduct.

                                            The prolonged effort to discredit, demean and stigmatize Plaintiff CANTER
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                            resulted in concrete and demonstrable injuries including, but not limited to emotional
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                            suffering, stress, anxiety, mortification, and financial hardship.

                                            Plaintiff CANTER continues to suffer injuries due to ongoing acts of

                            retaliation and the specter of future injuries inflicted by powerful government officials and

                            their co-conspirators/partners.

                                            Plaintiff CANTER continues to suffer discrimination and exclusion due to

                            the ongoing ADA violations at the CITY funded development known as Heritage Square

                            Commons. Drip Drop Drink and The Crue Barbershop are still in violation of the ADA.

                                            This Court is requested to impose a strong, just, and decisive remedy.




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                                                                     COUNT I
                                                                  42 U.S.C. §1983
                                                          FIRST AMENDMENT RETALIATION

                                            Plaintiff CANTER incorporates all previous paragraphs into this section.

                                            At all relevant times, Plaintiff CANTER had a clearly established right to

                            petition the CITY and criticize government practices without fear of retaliation from

                            government officials (or retaliation from persons who are acting in jointly with government

                            officials) as alleged throughout this Complaint.

                                            Defendants knew or should have known that Plaintiff CANTER’s advocacy,

                            complaints, and criticism of the CITY/DNWM Partnership was protected conduct under
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                            the First Amendment.           This also includes Plaintiff CANTER’s complaints to other
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                            government agencies of which the CITY was aware.

                                            Each of these Defendants knew that Plaintiff CANTER’s advocacy was

                            brought in good faith on behalf of individuals who are frequently marginalized due to no

                            fault of their own. At some point along the way, all of the Defendants became aware that

                            Plaintiff CANTER’s concerns regarding ADA compliance were absolutely correct.13

                                            Nonetheless, Defendants PETERSON, BRIGGS, HASTINGS, FLESER,

                            and POST engaged in a coordinated and prolonged course of retaliation, intimidation and

                            harassment against Plaintiff CANTER.

                                            In doing so, each of these Defendants understood that their individual and

                            collective acts were creating real and lasting injury.




                                    13  Importantly, under the First Amendment and other retaliation frameworks, it would not matter if
                            Plaintiff CANTER’s concerns were unfounded or untrue—if brought in good faith.


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                                                         Retaliatory Adverse Actions

                                         Because the Defendants were acting as public officials, acting in a

                            government capacity, or enmeshed in joint action with government officials, the schemes

                            to persuade Plaintiff CANTER that Drip Drop Drink was in compliance with the ADA

                            constitutes an adverse action independently. Under the circumstances, an average

                            citizen would be deterred from continuing to advocate in opposition to a cadre of powerful

                            and influential community leaders.

                                         Similarly, every act in support of the joint effort to disparage and discredit
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                            Plaintiff CANTER’s constitutes adverse government action which would be likely to chill

                            protected conduct.
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                                         In July of 2019 CITY officials refused to provide accommodations which

                            would allow Plaintiff CANTER to participate meetings. The accommodation request was

                            reasonable and was submitted under the ADA. The CITY later removed Plaintiff CANTER

                            from her role on the committee.

                                         Upon information and belief, the CITY’s FOIA Coordinator was also

                            instructed to single out Plaintiff CANTER’s FOIA requests for disparate treatment. This

                            included delayed responses, inflated fulfillment costs, incomplete responses, and/or a

                            failure to respond at all. The CITY’s disparate treatment was motivated, at least in part,

                            by CANTER’s complaints about discriminatory practices and a lack of transparency.

                                         DNWM was and is the only Center for Independent Living located in

                            Muskegon County.




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                                           In July of 2019, DNWM denied services to Plaintiff CANTER knowing that

                            these same services are routinely provided to similarly situated consumers who have not

                            spoken out against DNWM’s partnership with the CITY.

                                           DNWM’s denial letter closely follows the narrative which BRIGGS

                            articulated in his 3/11/19 correspondence to HASTINGS.

                                           It is unfortunate that the city and yourself has been the target of
                                           Accessibility Justice League [Eleanor Canter]. Their approach to the
                                           issue and code interpretation have been very irregular, even
                                           bordering on harassment.

                                           Drawing on that same theme, FLESER’s 7/24/19 letter denying services
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                            makes a clear reference to Plaintiff CANTER’s critical speech and petitioning activity:
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                                           Your communications up to present include defamatory claims, false
                                           allegations and have been threatening and aggressive in nature.
                                           Such behaviors have targeted individual staff, board of directors
                                           and/or the organization…

                                           The adverse actions effectuated by the DNWM Defendants arose directly

                            from the partnership DNWM had established with the CITY. The adverse actions were

                            also part of a coordinated joint effort to oppose CANTER’s criticism of the CITY/DNWM

                            Partnership.

                                           Defendant POST is a private citizen who also conspired with BRIGGS,

                            PETERSON, HASTINGS, & FLESER in an effort to avoid scrutiny regarding his non-

                            compliant development.

                                           As indicated in numerous correspondences between the Defendants,

                            POST teamed up as a key player in the joint effort to gaslight Plaintiff CANTER, silence

                            Plaintiff CANTER, and portray Plaintiff CANTER’s advocacy as an irrational vendetta.




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                                                 Strategic Retaliatory State Court Litigation

                                         When Defendants PETERSON, BRIGGS, HASTINGS, FLESER, and

                            POST realized that Plaintiff CANTER was not backing down in her petitioning activity, it

                            was agreed that more aggressive retaliatory measures were necessary.

                                         FRANK PETERSON and other CITY officials encouraged HASTINGS and

                            FLESER to threaten legal action in order to stop Plaintiff CANTER from criticizing and

                            complaining about the CITY/DNWM Partnership.

                                         Upon information and belief, FRANK PETERSON and/or other CITY

                            officials encouraged attorneys from Warner Norcross & Judd to make litigation services
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                            more readily available to DNWM in spite of the frivolous nature of claims asserted. Warner
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                            Norcross & Judd represented several downtown developers who could also have an

                            interest in subjugating Plaintiff CANTER’s advocacy.

                                         A letter threatening litigation was issued on 9/20/19. Although these threats

                            were purportedly asserted on behalf of DNWM, the letter primarily took issue with Plaintiff

                            CANTER’s criticism of the CITY/DNWM Partnership.

                                         The threat of litigation is underscored by a specific reference to the CITY’s

                            unofficial (but obvious) interest in the demands presented:

                                         “In order to avoid a lawsuit, you must immediately stop disparaging
                                         and defaming DNWM and those connected to the organization.”

                                         These threats constitute adverse action which was intended to intimidate

                            and injure Plaintiff CANTER for retaliatory purposes.

                                         The threats were issued with encouragement and/or material support from

                            CITY Officials.




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                                          Additionally, DNWM was acting as the CITY’s partner in making these

                            threats.

                                          DNWM filed suit on 10/16/19 with a defamation complaint that also places

                            a primary emphasis on Plaintiff CANTER’s petitioning activity (complaints to the

                            government—most of which concern the CITY/DNWM Partnership).

                                          A copy of the current state court complaint is attached as Exhibit A.

                                          On information and belief, the lawsuit filed by DNWM is being paid for by

                            funds other than its own.

                                          Many of the statements identified as “defamatory” are drawn directly from
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                            Plaintiff CANTER’s complaints, grievances, and FOIA requests (i.e. petitioning activity) to
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                            CITY officials (complaints, grievances, and FOIA requests).

                                          While these type of government records are privileged under the First

                            Amendment (and ordinarily deemed sensitive by government officials), Defendant

                            PETERSON and/or other CITY officials funneled these records to DNWM for litigation

                            purposes.

                                          The 5/8/20 amended complaint goes a step further in seeking to enjoin

                            Plaintiff CANTER from “accusing the City of Muskegon of ‘financing [DNWM’s] illegal

                            activity with taxpayer dollars.”

                                          As each of the Defendants knew, or should have known, complaints to the

                            government are absolutely privileged under the Petitioning Clause of the First

                            Amendment.




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                                          Without evidence of malice, criticism directed at government practices and

                            public figures cannot constitute an actionable claim for defamation and the state court

                            litigation was undertaken as retaliation for Plaintiff CANTER’s petitioning activity.

                                          On information and belief, PETERSON and/or other CITY officials

                            encouraged, supported, and/or tacitly approved of the state court litigation knowing that

                            there was no reasonable basis to assert a claim of defamation.

                                          The conduct of these Defendants was reckless and undertaken with

                            complete indifference to Plaintiff CANTER’s federal rights to be free from violations of the

                            United States Constitution.
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                                                                    Monell Liability
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                                          Acting as the highest ranking decisionmakers in their respective capacities

                            Defendants PETERSON and BRIGGS conspired and collaborated with the DNWM

                            Defendants to retaliate against CANTER. Without the support, encouragement, and/or

                            tacit approval from the CITY’s highest ranking decisionmakers, DNWM would not have

                            initiated or maintained the campaign of harassment (including the sham state court

                            litigation) against Plaintiff CANTER.

                                          Mayor Gawron, Public Safety Director Jeff Lewis, the CITY’s ADA

                            Coordinator and at least one City Commissioner tolerated the use of CITY resources in

                            efforts suppress Plaintiff CANTER’s complaints.

                                          The City also has a long history of indifference toward constitutional

                            violations and noncompliance with the ADA. The CITY failed to develop, maintain, and

                            adhere to the training programs and grievance procedures which were established under

                            a 2010 settlement with the U.S. Dept. of Justice (2014-38-109).



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                                            For each of these reasons and/or for under one or more of the processes

                            outlined in Thomas v City of Chattanooga, 398 F.3d 426 (6th Cir. 2005), the CITY is liable

                            under Monell.14

                                                              COUNT II
                                          VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT
                                                      & THE REHABILITATION ACT

                                            Plaintiff CANTER incorporates all previous paragraphs into this section.

                                            The petitioning activity and public speech described in this Complaint

                            occurred as part of Plaintiff CANTER’s opposition to actions and practices which violated
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                            provisions of the ADA.

                                            Defendants POST, PETERSON, BRIGGS, HASTINGS and FLESER
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                            violated Plaintiff CANTER’s rights under 42 U.S.C. § 12203(a) and § 12203(b) by

                            retaliatory action and conduct which was intended to intimidate and interfere with Plaintiff

                            CANTER’s advocacy and enjoyment of rights under the ADA.

                                            Knowing that Plaintiff CANTER was an individual with a qualified disability

                            who had engaged in vigorous advocacy regarding ADA violations, these Defendants took

                            individual and joint action to exclude Plaintiff CANTER from civic engagement by refusing

                            reasonable accommodations in violation of 42 U.S.C. § 12131, § 12132, and §12203;

                            AND to deny Plaintiff CANTER the benefit of services, programs or activities in violation

                            of 42 U.S.C. § 12132.

                                            Defendant POST subjected Plaintiff Canter and others to discrimination by

                            refusing to bring Heritage Square Commons into compliance with the ADA. Plaintiff



                                    14  See Doe v. Claiborne Cty. ex rel Claiborne Cty. Bd. of Educ., 103 F.3d 495, 511 (6th Cir. 1996)
                            (citing Bellamy v. Bradley, 729 F.2d 416 (6th Cir. 1984); Feliciano v. City of Cleveland, 988 F.2d 649, 655
                            (6th Cir.1993)).


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                            CANTER (along with others) was denied entry to the Drip Drop Drink coffee shop because

                            of her disability.

                                             In July of 2019, Defendant DNWM denied Plaintiff CANTER (a former

                            employee and qualified consumer) the benefit of services, programs or activities. As

                            indicated by FLESER’s correspondence, the denial was motivated, at least in part, by

                            FLESER’s distaste for CANTER’s opposition to discriminatory practices and ADA

                            violations. This retaliatory denial of services violated 42 U.S.C. § 12132, § 12203(a), and

                            § 12203(b).

                                             Because Defendant DNWM’s programs and services were federally funded,
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                            the retaliatory denial of services also constitutes a violation of § 504 of the Rehabilitation
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                            Act, 29 U.S.C. §§ 705, 794.

                                             Similarly, the sham defamation lawsuit initiated by DNWM against Plaintiff

                            CANTER, a qualified independent living consumer, was a violation of CANTER’s rights

                            under the ADA and the Rehabilitation Act.15

                                                          COUNT III
                             VIOLATIONS OF MICHIGAN’S PERSONS WITH DISABILITIES CIVIL RIGHTS ACT
                                                        (“PWDCRA”)

                                             Plaintiff CANTER incorporates all previous paragraphs into this section.

                                             Michigan’s Persons With Disabilities Civil Rights Act (“PWDCRA”) also

                            prohibits a broad range of discriminatory practices toward individuals with disabilities and

                            those who advocate on their behalf.




                                    15 See e.g. EEOC v. Levi Strauss & Co., 515 F. Supp. 640, 643-44 (N.D. Ill. 1981) (“There is little

                            doubt that a state court defamation action filed in retaliation for having engaged in conduct protected by §
                            704(a), … violates this section. A literal reading of the statute obviously outlaws all retaliatory acts including
                            lawsuits filed in state tribunals.”).


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                                          MCL 37.1602 provides in pertinent part that: “A person or 2 or more

                            persons shall not… [r]etaliate or discriminate against a person because the person has

                            opposed a violation of this act, or because the person has made a charge, filed a

                            complaint, testified, assisted, or participated in an investigation, proceeding or hearing

                            under this act.” MCL § 37.1602.

                                         Plaintiff CANTER’s complaints regarding ADA violations in the CITY OF

                            MUSKEGON fall squarely within the scope of protected conduct, and the retaliatory

                            conduct of the Defendants is actionable under this statute as well.
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                                                              RELIEF REQUESTED

                                         WHEREFORE, Plaintiff ELEANOR CANTER requests this Court to—
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                                         a.     Issue a judgement declaring that the Defendants collectively and
                                                individually violated Plaintiff CANTER’s rights under the First
                                                Amendment to the U.S. Constitution, the Americans with Disabilities
                                                Act, the Rehabilitation Act, and Michigan’s Persons With Disabilities
                                                Civil Rights Act;

                                         b.     Enter an order enjoining Defendant POST from continuing to design,
                                                construct, and maintain facilities for public accommodation which do
                                                not comply with the 2010 ADA standards;

                                         c.     Enter an order prospectively enjoining Defendants from engaging in
                                                any further retaliation or interference with advocacy, petitioning
                                                activity, or free speech;

                                         d.     Award nominal and compensatory damages under the applicable
                                                authorities, in an amount to be determined by a jury.

                                         e.     As allowed by the applicable authorities, award punitive and/or
                                                explemary damages for any intentional, indifferent, or malicious
                                                infliction of injury, in an amount deemed proper by a jury.

                                         f.     Award attorney fees and all costs of the litigation as provided under
                                                42 U.S.C. § 1988, and the corresponding remedies under the ADA,
                                                the Rehabilitation Act and Michigan law.

                                         g.     Award other relief which this Court deems just and necessary.


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                                                             JURY DEMAND

                                        A jury is demanded for all triable issues.

                            Date: July 21, 2020
                                                                     RESPECTFULLY SUBMITTED:

                                                                     /s/ Philip L. Ellison
                                                                     OUTSIDE LEGAL COUNSEL PLC
                                                                     by PHILIP L. ELLISON (P74117)
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